                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE MIDDLE DISTRICT OF TENNESSEE
                                         AT NASHVILLE

 JILL MARIE FITCHEARD,                                  )
                                                        )
               Plaintiff,                               )
                                                        )   No. 3:22-CV-00638
                             v.                         )   Judge Trauger
                                                        )
 METROPOLITAN GOVERNMENT OF                             )
 NASHVILLE AND DAVIDSON                                 )
 COUNTY,                                                )
                                                        )
               Defendant.                               )

                  THE METROPOLITAN GOVERNMENT’S MOTION TO DISMISS

               Pursuant to Fed. R. Civ. P. 12(b)(6), the Metropolitan Government of Nashville and

Davidson County moves to dismiss all claims against it for failure to state a claim upon which

relief may be granted. In support of her race discrimination and retaliation claims, Plaintiff

does not offer any facts, only desired remedies and legal conclusions. As explained more fully

in the contemporaneously filed memorandum of law, neither are sufficient to survive a

motion to dismiss.

                                                 Respectfully submitted,

                                                 THE DEPARTMENT OF LAW OF THE
                                                 METROPOLITAN GOVERNMENT OF
                                                 NASHVILLE AND DAVIDSON COUNTY
                                                 WALLACE W. DIETZ (#9949)
                                                 DIRECTOR OF LAW

                                                 /s/ Melissa Roberge
                                                 MELISSA ROBERGE (#26230)
                                                 MALLORY RICCI (#32492)
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                                CERTIFICATE OF SERVICE

       I hereby certify that a true and accurate copy of the foregoing document has been
served via U.S. Mail to:

        Jill Marie Fitcheard
        2232 Arbor Pointe Way
        Hermitage, TN 37076

on this 22nd day of August, 2022.


                                        /s/ Melissa Roberge
                                        Melissa Roberge




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